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              In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                         No. 15-840V
                                       (UNPUBLISHED)

    ************************* *
    KAITLIN RIPPLE,             *
                                *
                                *                          Special Master Katherine E. Oler
                    Petitioner, *
                                *                          Filed: August 20, 2019
    v.                          *
                                *
    SECRETARY OF HEALTH AND     *                          Decision by Stipulation; Damages;
    HUMAN SERVICES,             *                          Human Papillomavirus; HPV;
                                *                          Meningococcal; Sjogren’s Syndrome;
                                *                          Lupus
                    Respondent. *
    ************************* *

Mark T. Sadaka, Sadaka Associates LLC, Englewood, NJ, for Petitioner.
Heather Pearlman, U.S. Dep’t of Justice, Washington, DC, for Respondent.

                               DECISION AWARDING DAMAGES1

       On August 7, 2015, Kaitlin Ripple (“Petitioner”) filed a petition seeking compensation
under the National Vaccine Injury Compensation Program (“the Vaccine Program”).2 Pet., ECF
No. 1. Petitioner alleges that she suffered Sjodren’s syndrome and/or Lupus as a result of receiving
the Human Papillomavirus (“HPV”) vaccine and/or the meningococcal vaccine on August 13,
2012. Id.

       Respondent denies “that the HPV or meningococcal vaccines are the cause of [P]etitioner’s
alleged Sjogren’s [s]yndrome and/or Lupus or any other injury or condition.” See Stip. ¶ 6, dated

1
  Because this unpublished decision contains a reasoned explanation for the action in this case, I intend to
post this decision on the United States Court of Federal Claims’ website, in accordance with the E-
Government Act of 2002, Pub. L. No. 107-347, § 205, 116 Stat. 2899, 2913 (codified as amended at 44
U.S.C. § 3501 note (2012)). This means the ruling will be available to anyone with access to the
internet. As provided by 42 U.S.C. § 300aa-12(d)(4)(B), however, the parties may object to the decision’s
inclusion of certain kinds of confidential information. Specifically, under Vaccine Rule 18(b), each party
has fourteen days within which to request redaction “of any information furnished by that party: (1) that is
a trade secret or commercial or financial in substance and is privileged or confidential; or (2) that includes
medical files or similar files, the disclosure of which would constitute a clearly unwarranted invasion of
privacy.” Vaccine Rule 18(b). Otherwise, the Decision in its present form will be available. Id.
2
 The National Vaccine Injury Compensation Program is set forth in Part 2 of the National Childhood
Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755, codified as amended, 42 U.S.C.A. ' 300aa-
10-' 300aa-34 (West 1991 & Supp. 2002). All citations in this decision to individual sections of the Vaccine
Act are to 42 U.S.C.A. ' 300aa.
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August 20, 2019, ECF No. 67. Nonetheless both parties, while maintaining their above-stated
positions, agreed in a joint stipulation filed August 20, 2019 that the issues before them can be
settled and that a decision should be entered awarding Petitioner compensation.

        I have reviewed the file, and based upon that review, I conclude that the parties’ stipulation
is reasonable. I therefore adopt it as my decision in awarding damages on the terms set forth
therein.

       The stipulation awards:

       1.    A lump sum of $30,000.00 in the form of a check payable to Petitioner.

Stip. ¶ 8. This award represents compensation for all damages that would be available under 42
U.S.C. § 300aa-15(a).

        I approve a Vaccine Program award in the requested amount set forth above. In the absence
of a motion for review filed pursuant to RCFC Appendix B, the Clerk of the Court is directed to
enter judgment herewith.3

       IT IS SO ORDERED.

                                                               s/ Katherine E. Oler
                                                               Katherine E. Oler
                                                               Special Master




3
 Pursuant to Vaccine Rule 11(a), the parties may expedite entry of judgment by filing a joint notice of
decision not to seek review.
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